         Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 1 of 12



                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
            v.                             ) Case No. 16-cr-10137-LTS
                                           )
KENNETH BRISSETTE and                      )
TIMOTHY SULLIVAN                           )
__________________________________________)

   MEMORANDUM IN SUPPORT OF DEFENDANT SULLIVAN’S MOTION FOR A
                          NEW TRIAL

       Defendant Sullivan submits the following memorandum of law in support of his motion

for a new trial pursuant to Fed. R. Crim. P. 33(a) on Count One of the Third Superseding

Indictment. The memorandum incorporates by reference arguments made by his co-defendant in

his Rule 33 motion that are not specific to Brissette.


                                          ARGUMENT

       “Upon the defendant's motion, the court may vacate any judgment and grant a new trial if

the interest of justice so requires.” Fed.R.Crim.P. 33(a). “Motions for a new trial are directed to

the broad discretion of the trial judge, who may weigh the evidence and evaluate the credibility

of witnesses in considering such a motion.” United States v. Indelicato, 611 F.2d 376, 387 (1st

Cir. 1979). The Court's “power to order a new trial is greater than its power to grant a motion for

an acquittal.” United States v. Ruiz, F.3d 1492, 1501 (1st Cir. 1997).

       The court may grant a new trial under to Rule 33 where it finds that errors occurred

during the trial, “and it is reasonably possible that such errors…substantially influenced the

jury's decision.” United States v. Crim, 561 F.Supp. 2d 530, 533 (E.D. Pa 2008). The remedy of

a new trial is sparingly used, but apt in this case, where failure to acquit under Rule 29 would



                                                  1
         Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 2 of 12



amount to a miscarriage of justice, and the evidence preponderates heavily against the conspiracy

verdict. See United States v. Merlino, 592 F. 2d 22 (1st Cir. 2010). A new trial is in the interest

of justice because the government presented evidence relating to Top Chef that was highly

prejudicial to Sullivan, and because the government’s trial presentation and closing argument

constructively amended the conspiracy charge on which Sullivan was indicted, effectively

presenting a color of official right case without the requisite quid pro quo, rather than a use of

fear of economic loss case.


   I.      A New Trial is Required Where the Government Presented Evidence Relating to
           Top Chef That Had No Relevance to Sullivan and Was Highly Prejudicial to
           Him.

        Prior to trial, Defendant Sullivan sought severance of his trial from his co-defendant

based, in part, on the government's intention to introduce evidence of Brissette's conduct in

connection with the filming of the television show Top Chef. See Dkt # 117. Sullivan argued

that “evidence about Brissette’s alleged prior acts have no bearing on whether Sullivan

committed the crimes charged involving Crash Line Productions.” The government opposed

Sullivan's motion, arguing that the Top Chef evidence “explains why Brissette and Sullivan

(both members of the charged conspiracy) chose their words carefully when dealing with Crash

Line, i.e., because at least one member of the conspiracy knew that it was wrongful to withhold

city permits in order to induce an employer to hire union labor. ” Dkt #140 at 11.

        In its order denying Sullivan's motion for severance, the Court stated that “To the extent

Sullivan believes the Top Chef evidence has ‘zero relevance to him,’ Doc. No 118 at 9, that he

and Brissette ‘have markedly different degrees of culpability,’ id. at 11, and that ‘there could be

a substantial amount of evidence against Brissette that has nothing to do with Sullivan,’ id. at 12,

the Court cannot grant the uncommon remedy of severing co-conspirators for separate trials

                                                  2
         Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 3 of 12



based on such characterizations, as they are not supported by the current record.” Dkt #192 at 12.

“The government may—and indeed, has stated it intends to—offer evidence from which the

jurors could infer that Sullivan was at least aware of the Top Chef events (and, thus, that

evidence of those events bears on his knowledge and intent during the interactions giving rise to

the charges in this case).” Id.

       Predictably, the first three witnesses at trial were called to testify about Brissette's

conduct related to the filming of Top Chef and never even mentioned Sullivan's name. Thus,

the government introduced “a substantial amount of evidence against Brissette that has nothing

to do with Sullivan.” See Dkt #192 at 12. Moreover, the government introduced no evidence

from which the jury could infer that Sullivan was aware of the Brissette's conduct related to Top

Chef. For example, Derek Cunningham testified about a conversation he had with Brissette

about Top Chef's permits potentially being cancelled and that Brissette told him not to shoot the

show until he spoke to Bravo. (3 Tr. 32:17-33:15.) There was no testimony that Sullivan had

any idea that conversation ever took place. As there was no evidence that Sullivan knew about

Brissette's conduct related to the filming of Top Chef, it could not be used to prove that he

knowingly and willfully used Crash Line's fear of economic harm to induce it to part with its

property.

       In arguing that severance was required to remedy the potential prejudice of a joint trial in

which the Top Chef evidence was introduced, Sullivan posed the following hypothetical:


               [I]magine that the jurors hear testimony suggesting that Brissette
               conducted a meeting with Top Chef producers, during which he threatened
               to pull their permits unless they agreed to hire union workers, and that
               they also hear testimony that Brissette did the same thing to the company
               shooting the Top Chef promotions. In this hypothetical the government
               then presents evidence that Brissette and Sullivan requested a meeting
               with the principals of Crash Line Productions, at which they spoke of

                                                  3
         Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 4 of 12



               potential picketing that could be avoided by hiring union labor. If jurors
               believe the testimony that Brissette illegally threatened to withhold
               permits from Top Chef, they might improperly infer that both Brissette
               and Sullivan intended to communicate a threat to Crash Line Productions,
               even though Sullivan is not alleged to have had any involvement with Top
               Chef.

   See Dkt # 117. The hypothetical posed by Sullivan is exactly how the government tried its

case against the defendants. The government introduced prior acts of Brissette to prove that both

defendants intended to exploit Crash Line's fear of economic harm in this case without

presenting any evidence that could plausibly connect Brissette's acts to Sullivan or show that

Sullivan was ever even made aware of Brissette's acts. Nevertheless, because the government

charged Brissette and Sullivan with conspiracy, “[i]t [wa]s difficult for [Sullivan] to make his

own case stand on its own merits in the minds of jurors who are ready to believe that birds of a

feather are flocked together.” U.S. v. Krulewitch, 336 U.S. 440, 454 (1949)(Jackson, J.,

concurring)(reversing defendant’s conspiracy conviction because hearsay declaration made by

co-conspirator “in furtherance of an implied but uncharged conspiracy” was improperly admitted

at trial). See King v. United States, 355 F.2d 700, 703-704 (1st Cir. 1996)(“Because of the

natural tendency to infer guilt by association, a defendant may suffer by being joined with

another allegedly ‘bad man.’”). While it is true that the Court gave a limiting instruction on the

jury's use of the Top Chef evidence, “[t]he naïve assumption that prejudicial effects can be

overcome by instructions to the jury all practicing lawyers know to be an unmitigated fiction.”

Krulewitch, 336 U.S. at 723 (Jackson, J., concurring).

       In this case, the effect of the limiting instruction was minimized by two factors. First, the

limiting instruction pertaining to Mr. Sullivan was substantially similar to the limiting

instructions pertaining to Mr. Brissette. Second, the jurors had before them the Third

Superseding Indictment (Docket #177) . Paragraphs 8 through 15 of that document relate to Top

                                                 4
          Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 5 of 12



Chef. Paragraph 16, immediately following the Top Chef paragraphs, contains three references

to “BRISSETTE and SULLIVAN”, thus joining the two defendants at the hip. While there

was no real evidence that Mr. Sullivan received any “warnings” similar to those received by Mr.

Brissette, or that between July and September Mr. Sullivan repeated advised Crash Line that it

would need to hire members of IATSE Local 11 to work at the Boston Calling music festival or

that Messrs. Appel or Snow told Mr. Sullivan prior to the meeting referenced in paragraph 17

that they had a contract with a non-union company, Mr. Brissette’s alleged knowledge and

actions were ascribed to Mr. Sullivan,


   II.       A New Trial Should Be Granted Because the Government's Trial Presentation
             and Closing Argument Constructively Amended the Conspiracy Charge on
             Which Sullivan Was Indicted.

         Defining the conspiracy charged in the instant case has been problematic. It has required

four (4) presentations to the Grand Jury, several Motions to Dismiss, a dismissal of the charges

by this Court, an appeal to the First Circuit Court of Appeals, and reversal of this Court Order of

Dismissal.

         As originally drafted, the conspiracy count appeared to charge a criminal agreement

between Kenneth Brissette and unnamed others to force Crash Line’s owners (collectively the

Partners) to hire unwanted and unnecessary union labor. Sullivan was added as a defendant in a

Superseding Indictment. The charging theory was fleshed out by a Bill of Particulars, and after

two more iterations of the Indictment, the overall goal of the conspiracy remained the same – to

extort Crash Line into hiring union labor – but the means changed. As trial approached, the

government was seeking to prove that Brissette and Sullivan exploited the Partners’ fear of

economic harm and preyed off that fear to extract their consent to hire and pay for some union




                                                 5
           Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 6 of 12



labor. At trial and particularly in its closing arguments, the government relied on the defendants’

public positions and essentially presented a color of official right case.1

          The government conceded that neither violence or threats of physical harm were

involved, and no explicit threat was made by defendants. Instead, the consequences for refusal

to hire union labor were conveyed by implication. The implied consequences of failing to hire

workers through IATSE were Crash Line (1) would not receive the Entertainment License to

operate the concert; (2) would have its hours within which alcohol could be served dramatically

reduced, thereby significantly reducing the revenue generated; or (3) not be given fair

consideration in the future for an expected RFP awarding additional dates beyond 2017 (referred

to by the Partners as “an extension of their Agreement”).

          Unlike the conspiracy charged in the Third Superseding Indictment, an indispensable

component of the conspiratorial mechanism proffered at trial was the existence of a concerted

effort by individuals, other than the defendants, performing wrongful acts outside the scope of

the conspiracy charged. As presented, the criminality of Brissette and Sullivan involved using

the Police Commissioner William Evans and the Director of Consumer Affairs and Licensing

Patricia Malone to impose unwarranted and contrived restrictions as obstacles to obstruct and

slow down the issuance of the Entertainment License. The plan was to “ramp-up” Appel’s and

Snow’s anxiety and fear of economic harm so Brissette and Sullivan could falsely create the

threat of a union protest by IATSE as a device to pounce on Crash Line’s principals and demand

that union labor be employed.

          The government’s theory appears to be that the merging of all the potentially show

closing events three days before the festival was to open would act as a powerful lever,

wrongfully used, to obtain Crash Line’s consent to hire and pay for union labor from IATSE.
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    Sullivan submits that even if this is not a constructive amendment it is a prejudicial variance.

                                                        6
        Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 7 of 12



       The prosecution’s multi-faceted theory would have required all the participants to know,

understand and willfully agree to the conspiratorial goal and share the specific intent to perform

the wrongful acts to achieve the goal. This theory was never provided or articulated before trial

began. Such a theory would have implicated those involved in the charged conspiracy. But, after

being ordered by the Magistrate Judge to provide the names of all unindicted coconspirators, the

government initially answered there were none and a subsequent discovery letter identified but

one person. At trial, the government broadly referred to the conspiratorial antagonists as “City

Hall” or an unidentified “they”, thus expanding it well beyond the conspiracy charged in the

Indictment as clarified by the particulars and discovery letters. By doing so, the government

changed the charged conspiracy to one involving the “official right” of many unnamed, unknown

public employees.

       The full breadth of the government’s trial presentation and prosecution theory is shown

through a side-bar conference concerning the testimony of the person identified as an unindicted

co-conspirator. Seeking to introduce statements that person purportedly made to Mayor Walsh

about a meeting that occurred in August 2014, the government argued that the conspiracy started

at that meeting – either August 19th or 20th. This Court, responding to this argument, reminded

the prosecutors:

               THE COURT: [Appel] said he was asked to hire 30 people and he
               said no thanks, I already have my people. That's my memory of
               what he said about the August meeting and you told me the August
               meeting was innocuous. At a sealed hearing. Yes, you said it was
               innocuous. And you said the real issue happened in September
               2nd.”


TT, Day 8, p. 23.




                                                 7
        Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 8 of 12



       Moving on, this Court indicated there was not enough independent evidence to meet the

preponderance standard to find the witness to be a coconspirator and refused to admit the

proffered statements under §801(d)(2)(E). See TT, Day 8, pp. 7-27. The Court reasoned that it

did not understand how the curfew and alcohol issues “establishes by preponderance of the

evidence that [the witness] joined a conspiracy to threaten the permits in order to get them to hire

union members at the September concert. Id., at pp. 19-20.

       Typifying the prosecution theory the government presented at trial, the Court continued

to express the tough time it had understanding how the alcohol and curfew matters related to the

conspiracy charged. The Prosecutor interrupted and stated:

               MS. KAPLAN: Well, much of it is about the union, and the IATSE
               issue, and the union labor. The issue with respect to BPD and the
               alcohol and the beer gardens and the curfew, is that -- as Brian
               testified, if they had to do beer gardens at the last minute, if they
               had to change the curfew at the last minute, they would go
               bankrupt. And that's part of the whole issue that Brian –

               THE COURT: Is your theory that the defendants got the police to
               say no beer gardens?

TT, Day 8, p. 12.

               The Prosecutor responded:

               MS. KAPLAN: I don't think we have evidence of that, but they
               were certainly trying to -- they were all engaged in trying to make
               sure that Crash Line hired union labor and if that --


               When the Court pointedly asked:

               THE COURT: Which they? Including the police?

TT, Day 8, pp. 12-13.




                                                 8
         Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 9 of 12



       The Prosecutor answered negatively and explained “but they were certainly trying to”

and “they were all engaged in trying to make sure that Crash Line hired union labor …” did not

pertain to Evans, Malone or Mayor Walsh. In context, they had to be a reference to

Commissioner Evans, Captain Fong and Patricia Malone and possibly Mayor Walsh. A denial of

such an implication was, at best, disingenuous.

       The Prosecutor continued and uttered a quintessential Freudian Slip:

               MS. KAPLAN: So the police are charged as an unindicted co-
               conspirator, but no [the witness]. And that they waited until just
               three days before, knowing that they could change their permits
               again, that they could go back to beer gardens again. In fact, they
               had gone back to beer gardens again. So it's just to show that [the
               witness] has knowledge of and –

TT, Day 8, p. 13.

       Announcing that he was persuaded that [the witness] was involved in discussions about

whether Crash Line should hire IATSE, the Court pondered “but from what I've seen so far, it

seems to me that she was at the meeting, from the e-mails that you showed me, but presence isn't

like joining a conspiracy. And there has to be something that shows that -- I mean, she's talking

to them, but there's nothing illegal about talking to them about these issues.” Id.

       Refusing to let go, and finally linking [the witness’s] alleged illegal actions to Mayor

Walsh, the Prosecutor said:

               MS. KAPLAN: Well, she's -- well, what's illegal is what she's
               telling him [Mayor Walsh] in his -- in this memo, that, "while
               they're not adverse to hiring some guys, they do know that they'll
               eventually be expected to hire 100 percent union," she's telling that
               to Marty Walsh, which will increase their production costs.

Id., at pp 13-14.

       This argument, made by the Prosecutor, clearly evinces the government’s belief, and

covert prosecution theory, that any request by a public official to hire union labor is ipso facto

                                                  9
        Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 10 of 12



illegal. Trying to provide further support for her position, and employing the logical fallacy post

hoc ergo propter hoc, the Prosecutor argued:

                 MS. KAPLAN: Right, but in September, they take nine, and then
                 they eventually have to go to 100 percent union, so she's in it.
                 Obviously, we didn't charge her, because the evidence wasn't as
                 strong as it was with respect to Brissette and Sullivan. …

Id., at p. 14.

       The import of the government’s position in the argument at side-bar, if followed to its

logical conclusion, leads to the inference that any employee who was involved in the permitting

process for the Boston Calling 2014 concert on Boston City Hall Plaza – all of whom in one way

or another delayed the issuance of the Entertainment License – each had the same goal and intent

to jointly use their respective positions to provide Brissette and Sullivan an opportune time to

extort Crash Line to hire nine stagehands for three days. Thus, under the theory the government

advanced at trial, the Police Commissioner, the Chief of the Fire Department, the Building

Department, the electrical inspectors, the health inspectors, the maintenance and janitorial staff at

City Hall, and others involved in the process would have to have had the same focus and the

same intent – getting work for nine (9) stagehands. Each risking, if the plan failed and Crash

Line refused to hire the IATSE workers, the loss of the detail money that those same police,

firemen, inspectors, city hall employees and administrative staff would have earned to work at

the concert – according to Appel, hundreds of thousands of dollars. The trial evidence is thus

materially different from the crime charged in the indictment.

       As with the first argument presented in the memorandum, the effect of the constructive

amendment asserted here was compounded for the jury. In this instance, it was by the

government’s closing arguments. Those arguments pointedly put City Hall and all who work

there front and center, most pointedly Mayor Walsh. Mr. Sullivan will not belabor the point

                                                 10
        Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 11 of 12



here, knowing that Mr. Brissette’s memorandum in support of his Motion for New Trial deals

with that closing at some depth. Instead, Mr. Sullivan adopts the arguments advanced by Mr.

Brissette as if fully set forth herein while focusing on one particular aspect of the closing. The

prosecutor capped her political polemic by telling the jury “If you feel this is just politics as

usual, then [we] have failed to find an impartial jury.” Tr. 12, p. 98. That statement was not

only improper, but at constructive amendment with the real evidence of politics presented at trial.

       That evidence was that the first City Hall employee to whom Crash Line turned to seek

the use of City Hall Plaza was the then mayor’s daughter-in-law, with whom he met in April

2012. Tr. 6, p. 53. Following up on her advice, Brian Appel wrote a letter to the former mayor

pitching the festivals and promising to make sizable donations from each festival to charities of

the former mayor’s choosing. (Exhibit 203). To move the project forward, Crash Line engaged

a lobbyist who had served as the former mayor’s press secretary. Mr. Appel and that lobbyist

continued to communicate with respect to donations to entities favored by the mayor. (Exhibit

104). Within four hours of Mayor Walsh’s November 2013 election, Brian Appel contacted

Joyce Linehan, (Tr. 8, p. 123) co-chair of the Walsh Transition Team, and offered assistance for

inaugural events. In 2014, Mr. Appel dispatched his lobbyist “to go to work on the 5th floor”,

(Exhibit 127) where the mayor’s office is located, and shortly thereafter replaced her with a

lobbyist with ties to Mayor Walsh rather than his predecessor. “Politics as usual” was Brian

Appel’s game. Making sure the public safety was served was the business of the Boston Police

Department and the permitting agencies within City Hall. Nobody in City Hall received

anything of value from Crash Line, and receipt of such an item of value is the sine qua non for

the color of right case the government actually presented.

                                          CONCLUSION



                                                  11
        Case 1:16-cr-10137-LTS Document 391 Filed 08/21/19 Page 12 of 12



       For all the reasons set forth herein, those articulated in support of Kenneth Brissette’s

Motion for New Trial that are incorporated by reference, and those advanced by either Timothy

Sullivan or Kenneth Brissette in their respective memoranda supporting their Rule 29 motions

for acquittal, Timothy Sullivan should be granted a new trial if his Rule 29 motion for acquittal is

either not granted or granted but reversed on appeal.

                                       Respectfully submitted,
                                       TIMOTHY SULLIVAN
                                       By his attorneys,


                                       /s/   Thomas R. Kiley         ______________
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                                  CERTIFICATE OF SERVICE


       I hereby certify that on this date, August 21, 2109, a copy of the foregoing document has

been served via electronic filing upon all registered parties.



                                                        /s/ Thomas R. Kiley
                                                        Thomas R. Kiley




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